     Case 4:21-cv-02155-YGR         Document 629      Filed 12/07/23   Page 1 of 6




 1   Elizabeth C. Pritzker (Cal. Bar No. 146267)
     Jonathan K. Levine (Cal. Bar No. 220289)
 2   Bethany Caracuzzo (Cal. Bar No. 190687)
     PRITZKER LEVINE LLP
 3
     1900 Powell Street, Suite 450
 4   Emeryville, CA 94608
     Tel.: (415) 692-0772
 5   Fax: (415) 366-6110
     ecp@pritzkerlevine.com
 6   jkl@pritzkerlevine.com
 7   bc@pritzkerlevine.com

 8   Interim Class Counsel

 9   [Additional Counsel Appear on Signature Page]
10

11                           IN THE UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
13
     IN RE GOOGLE RTB CONSUMER                       CASE NO. 4:21-CV-02155-YGR-VKD
14   PRIVACY LITIGATION
15                                                   PLAINTIFFS’ RESPONSE
16                                                   DEFENDANT GOOGLE LLC’S
     This document applies to all actions.           ADMINISTRATIVE MOTION (ECF
17                                                   No. 625) TO EXTEND TIME FOR
                                                     BRIEFING ON PLAINTIFFS’
18                                                   DAUBERT MOTION TO EXCLUDE
                                                     GOOGLE’S EXPERT BRUCE
19
                                                     DEAL (ECF No. 575)
20

21

22

23

24

25

26
27

28
                                                                 Case No. 4:21-cv-02155-YGR-VKD
                                   PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND TIME FOR
                       FOR BRIEFING ON PLS’ DAUBERT MOTION TO EXCLUDE GOOGLE’S BRUCE DEAL
     Case 4:21-cv-02155-YGR             Document 629        Filed 12/07/23     Page 2 of 6




 1              Plaintiffs respectfully submit this response to the administrative motion by defendant
 2 Google LLC (“Google”) (ECF No. 625), in which Google seeks a one-week extension, from

 3 December 13 to December 20, 2023, to file its opposition to Plaintiffs’ Daubert motion to exclude

 4 the expert testimony of Google’s class certification expert, Bruce Deal (ECF No. 623-3), and in

 5 which Google seeks to adjust the date of Plaintiffs’ reply in support of that motion from December

 6 20, 2023 to January 8, 2024.

 7              Plaintiffs are dismayed that Google proceeded with its motion without completing the meet
 8 and confer process, and without advising the Court of the effect Google’s requested extension has on

 9 the case schedule, as Civil Local Rules 6-3 and 7-11 require. Class certification briefing in this matter
10 has been extended three times over the past year due to discovery delays on Google’s part – first,

11 from September 23, 2022 to January 24, 2023 (ECF No. 329), then from January 24, 2023 to May

12 23, 2023 (ECF No. 391), and then from May 23, 2023 to July 14, 2023 (ECF Nos. 515, 534).

13 Declaration of Elizabeth C. Pritzker (“Pritzker Decl.”) at ¶ 3. Additional discovery delays related to

14 Google’s late production of one its class certification witnesses’ custodial file on November 1, 2023

15 and Google’s inability to present that witness for deposition until November 15, 2023 required a

16 further short extension (from November 17, 2023 to November 29, 2023) for Plaintiffs to file their

17 class certification reply brief. ECF No. 612. Id. ¶ 4. Plaintiffs met that November 29, 2023 filing

18 deadline, and Plaintiffs’ Daubert motion with respect to Mr. Deal accompanied that filing. See ECF

19 Nos. 616 - 623. Id.

20              The briefing schedule on Plaintiffs’ Daubert motion was set by the Court on November 29,
21 2023 (ECF No. 624), and allowed for all class certification briefing to be concluded this year prior

22 to the Christmas holidays – with Google’s opposition due December 13, 2023 and Plaintiffs’ reply

23 due December 20, 2023. Maintaining this schedule allows for all of the parties’ class certification

24 briefing to be completed this year, ahead of the Christmas and New Years Day holidays, and provides

25 the Court with the greatest flexibility to schedule a hearing on class certification in January 20241,

26 and potentially ahead of the upcoming January 19, 2024 fact discovery and February 9, 2024 opening
27

28   1
         Plaintiffs are aware that the Court is unavailable on Wednesday, January 17, 2024.
                                                        1            Case No. 4:21-cv-02155-YGR-VKD
                                       PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND TIME FOR
                           FOR BRIEFING ON PLS’ DAUBERT MOTION TO EXCLUDE GOOGLE’S BRUCE DEAL
     Case 4:21-cv-02155-YGR            Document 629         Filed 12/07/23     Page 3 of 6




 1 expert report deadlines. See ECF Nos. 530, 534. It is for this reason that Plaintiffs prefer not to extend

 2 the briefing schedule on the Daubert motion with respect to Mr. Deal. Pritzker Decl. ¶¶ 6-7.

 3            That said, consistent with prior practice and professional guidelines, Plaintiffs met and

 4 conferred with Google’s counsel to attempt to resolve Google’s briefing needs, avoid burdening the

 5 Court with unnecessary motion practice, and meaningfully assess the impact the delayed and now

 6 potentially extended briefing on class certification may have on the case and Court’s schedule.

 7 Pritzker Decl. ¶¶ 8-9. With those considerations in mind, and as a professional courtesy to Google

 8 and its counsel, Plaintiffs stated they were amenable to Google’s proposal to extend the Daubert

 9 briefing schedule, with Google’s opposition brief due December 20, 2023 and Plaintiffs’ reply brief

10 due January 12, 2024 (to accommodate pre-planned holiday and vacation schedules of Plaintiffs’

11 counsel and staff), provided the parties also agree upon, or at least discuss with the Court, the case

12 schedule implications resulting from the extended class certification briefing. Id. For example,

13 presently there is no scheduled class certification hearing date. Additionally, under the current

14 schedule and as noted above, fact discovery closes on January 19, 2024 and opening merits expert

15 reports are due February 9, 2024. See ECF Nos. 530, 534. Both of these dates are likely to pass before

16 the Court has an opportunity to hear or rule upon class certification issues.

17            In an effort to promote efficiencies for the parties and the Court in trying to meet future

18 case deadlines with the guidance that the Court’s ruling on class certification may provide, Plaintiffs

19 proposed that the parties agree to move the current schedule by two months, now. Pritzker Decl. ¶ 9.

20 This allows the parties to address case scheduling needs directly with the Court at a case management

21 conference to follow the Court’s as yet to be scheduled hearing on class certification. The modest

22 extension of the case schedule Plaintiffs propose also is necessary to allow time for Plaintiffs to

23 conduct class-wide discovery after the Court rules on the pending motion. To date, Google has

24 refused to produce certain class discovery, claiming that it is not relevant unless the Court certifies a

25 class. See, e.g., ECF No. 269-1 at p.22 (“Google…objects to this Request [No. 12] to the extent it is

26 not limited to the named Plaintiffs and, instead, seeks information and documents relating to
27 individual putative class members when no class has been certified.”). Under the current schedule,

28 as noted, fact discovery is likely to close before the Court even hears the class certification motion.

                                                        2              Case No. 4:21-cv-02155-YGR-VKD
                                    PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND PAGE LIMITS
                                               FOR ITS OPP. TO PLTFS’ MOT. FOR CLASS CERTIFICATION
     Case 4:21-cv-02155-YGR           Document 629         Filed 12/07/23     Page 4 of 6




 1            Google and its counsel declined to agree upon a modified case schedule, or even discuss

 2 these scheduling implications with Plaintiffs and their counsel. Google and its counsel also did not

 3 seek to have the parties present their respective views on these issues in a joint submission to the

 4 Court, as they have done in the past.2 Instead, Google chose to go ahead and file this administrative

 5 motion without inviting any further discussion on the issue. Pritzker Decl. ¶ 9.

 6            In light of the above, Plaintiffs’ preference is adherence to the Court-ordered schedule on

 7 Plaintiffs’ Daubert motion. Should the Court grant Google its requested relief, Plaintiffs respectfully

 8 request that any adjustments to the briefing schedule be in accordance with the schedule agreed upon

 9 by the parties in their meet and confer discussions, with Google’s opposition due December 20, 2023

10 and Plaintiffs’ reply brief due January 12, 2024.

11            However the Court rules, Plaintiffs respectfully request that the Court extend the current

12 case schedule (see ECF Nos. 530, 534), as Plaintiffs proposed to Google which is as follows:

13            Event                               Proposed Case Extension/New Dates

14            Fact Discovery Cut-Off              From January 19, 2024 to March 15, 2024

15            Opening Expert Reports              From February 9, 2024 to April 12, 2024

16            Rebuttal Expert Reports             From March 15, 2024 to May 17, 2024

17            Close of Expert Discovery           From April 12, 2024 to June 14, 2024

18            Dispositive/Daubert Motions         From May 17, 2024 to July 19, 2024

19            Plaintiffs further respectfully request that the Court set a case management conference in

20 conjunction with the Court’s scheduling of any hearing on Plaintiffs’ class certification motion, so

21 the parties can discuss with the Court whether any further adjustments to the case schedule are

22 warranted, and also discuss pre-trial conference and trial dates which have not yet been set.

23 Dated: December 7, 2023                                 Respectfully submitted

24                                                         PRITZKER LEVINE LLP

25                                                         By: /s/ Elizabeth C. Pritzker
                                                           Elizabeth C. Pritzker (Cal. Bar No.146267)
26                                                         Jonathan K. Levine (Cal. Bar No. 220289)
27
        2
28       For example, in ECF No. 550, the parties filed a stipulation for a case extension that permitted
     Google to state its position on proposed discovery limitations associated with that extension request.
                                                       3               Case No. 4:21-cv-02155-YGR-VKD
                                    PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND PAGE LIMITS
                                               FOR ITS OPP. TO PLTFS’ MOT. FOR CLASS CERTIFICATION
     Case 4:21-cv-02155-YGR     Document 629        Filed 12/07/23     Page 5 of 6




 1                                                  Bethany Caracuzzo (Cal. Bar No. 190687)
                                                    1900 Powell Street, Ste. 450
 2                                                  Oakland, CA 94602
                                                    Tel.: (415) 692-0772
 3
                                                    ecp@pritzkerlevine.com
 4                                                  jkl@pritzkerlevine.com
                                                    bc@pritzkerlevine.com
 5
                                                    Interim Class Counsel
 6
                                                    BLEICHMAR FONTI & AULD LLP
 7
                                                    Lesley Weaver (Cal. Bar No.191305)
 8                                                  Anne K. Davis (Cal. Bar No. 267909)
                                                    Joshua D. Samra (Cal. Bar No. 313050)
 9                                                  1330 Broadway, Suite 630
                                                    Oakland, CA 94612
10                                                  Tel.: (415) 445-4003
11                                                  lweaver@bfalaw.com
                                                    adavis@bfalaw.com
12                                                  jsamra@bfalaw.com

13                                                  SIMONS HANLY CONROY LLC
                                                    Jason ‘Jay’ Barnes (admitted pro hac vice)
14                                                  An Truong (admitted pro hac vice)
15                                                  112 Madison Avenue, 7th Floor
                                                    New York, NY 10016
16                                                  Tel.: (212) 784-6400
                                                    jaybarnes@simmonsfirm.com
17                                                  atruong@simmonsfirm.com

18                                                  DICELLO LEVITT LLP
                                                    David A. Straite (admitted pro hac vice)
19                                                  James Ulwick (admitted pro hac vice)
20                                                  485 Lexington Avenue, Suite 1001
                                                    New York, NY 10017
21                                                  Tel.: (646) 933-1000
                                                    dstraite@dicellolevitt.com
22                                                  julwick@dicellolevitt.com
23
                                                    COTCHETT PITRE & MCCARTHY, LLP
24                                                  Nancy E. Nishimura (Cal. Bar No. 152621)
                                                    Brian Danitz (Cal Bar. No. 247403)
25                                                  Karin B. Swope (admitted pro hac vice)
                                                    840 Malcolm Road
26                                                  Burlingame, CA 94010
                                                    Tel.: (650) 697-6000
27
                                                    nnishimura@cpmlegal.com
28                                                  bdanitz@cpmlegal.com

                                                4                Case No. 4:21-cv-02155-YGR-VKD
                              PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND PAGE LIMITS
                                         FOR ITS OPP. TO PLTFS’ MOT. FOR CLASS CERTIFICATION
     Case 4:21-cv-02155-YGR     Document 629        Filed 12/07/23     Page 6 of 6




 1                                                  kswope@cpmlegal.com

 2                                                  BOTTINI & BOTTINI INC.
                                                    Francis A. Bottini, Jr. (Cal. Bar No. 175783)
 3
                                                    7817 Ivanhoe Ave., Ste. 102
 4                                                  LA Jolla, CA 92037
                                                    Tel.: (848) 914-2001
 5                                                  fbottini@bottinilaw.com
 6                                                  Plaintiffs’ Executive Committee
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                5                Case No. 4:21-cv-02155-YGR-VKD
                              PLS’ RESPONSE TO GOOGLE’S ADMIN. MOT. TO EXTEND PAGE LIMITS
                                         FOR ITS OPP. TO PLTFS’ MOT. FOR CLASS CERTIFICATION
